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                                                                           Original - Court                                        2nd copy - Plaintiff
   Approved, SCAO
                                                                           1st copy - Defendant                                    3rd copy - Retum
          STATE OF MICHIGAN                                                                                                        CASE NO.
                   16th JUDICIAL DISTRICT
                          JUDICIAL CIRCUIT                     SUMMONS AND COMPLAINT
                           COUNTY PROBATE
                                                                                                                              17-1202 GC
                                                                                                                                               Court telephone no.
32765 Five Mile Road, Livonia, MI 48154                                                                                             (734)466-2500
           name(s), address(es), and                                                          Defendant's name(s), address(es), and telephone no(s).
 Lucian Gizel                                                                                 Equifax Information Services, LLC
 c/o CREDIT REPAIR LAWYERS OF AMERICA                                                         RA: CSC Lawyers Incorporating Service Company
 22142 W. Nine Mile Rd.                                                                       601 Abbott Rd.
 Southfield, MI 48033                                                                         East Lansing, MI 48823
(248)353-2882
 PlainfifPs attomey, bar no., address, and telephone no.
                                                                                              Security Federal Cre
Gary D. Nitzkin P41155
                                                                                              3801 W. Boulvard DI~~
CREDIT REPAIR LAWYERS OF AMERICA
                                                                                              Flint, MI 48505
22142 W. Nine Mile Rd.
Southfield. MI.48033
(248)353-2882

 SUMMONS NOTICE TO THE DEFENDANT: In the name of the people of the State of Michigan you are notified:
 1. You are being sued.
 2. YOU HAVE 21 DAYS after receiving this summons to file a written answer with the court and serve a copy on the other party
     ortake other lawful action with the court (28 days ifyou were served by mail oryou were served outside this state). (MCR2.111 [C])
 3. If you do not answer or take other action within the time allowed, judgment may be entered against you for the relief demanded
  ' in the complaint.
 Issued                                This summ9ns e ires                      Court clerk
              07/10/17                         10/09~g7                     1                       N..Stojcevska
 *This summons is invalid unless served on or before its expiration date. This document must be sealed by the seal of the court.
COMPLAINT instruction: The following is information thatis required to be in the caption of every complaintandis to be completed
by the plaintiff. Actual allegations and the claim for nelief must be stated on additional complaint pages and attached to this form.
❑ This is a business case in which all or part of the action includes a business or commercial dispute under MCL 600.8035.
Family Division Cases                                                                                             _
❑ There is no other pending or resolved action within thejurisdiction ofthe family division of circuit court involving the family orfamily
  members ofthe parties.
❑ An action within the jurisdiction of the family division of the circuit court involving the family orfamily members of the parties has
  been previouslyfiled in                                                                                                    Court.
The action ❑ remains            ❑ is no longer        pending. The docket number and the judge assigned to the action are:
 Docket no.                                                        Judge                                                                            Bar no.


General Civil Cases
~ Thereis no"iSther pending or resolved civil action arising out of the same transaction or occurrence as alleged in the complaint.
❑ A civil action between these parties or other parties arising out of the transaction or occurrence alleged in the complaint has
  been previously filed in                                                                                                      Court.
The action ,❑ remains                  ❑ is no longer            pending. The docket number and the judge assigned to the action are:
 Docket no.                                                        Judge                                                                            Bar no.


VENUE
 Plainfiff(s) residence (include city, township, or village)                         Defendant(s) residence (include city, township, or village)
 Livonia, MI                                                                         East Lansing and Flint, MI
 Place where action arose or business conducted
 Livonia, MI

07/05/2017                                                                          9~-I                                       ~       -              1
Date                                                                                 Signature f a omey/plaintiff                          "
Ifyou require special accommodations to use the court because of a disability or ifyou requi a foreign language interpreterto help
you fully participate in court proceedings, please contact the court immediately to make an-angements.
MC o1   (5/15) SUMMONS AND COMPLAINT                           MCR 2.102(B)(11), MCR 2.104, MCR 2.105, MCR 2.107, MCR 2.113(C)(2)(a), (b), MCR 3.206(A)
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                                                                                                                   SUMMONS AND COMPLAINT
                                                                     PROOF OF SERVICE                             Case No.
TO PROCESS SERVER: You are to serve the summons and complaint not later than 91 days from the date of filing or the date
of expiration on the orderforsecond summons. You must make and flle your retum with the court clerk. Ifyou are unableto complete
service you must retum this original and all copies to the court clerk.
                                               CERTIFICATEIAFFIDAVITOF SERVICEJ NONSERVICE

                 ❑ OFFICER CERTIFICATE                            OR                            ❑ AFFIDAVIT OF PROCESS SERVER
 I cerbfy that I am a sheriff, deputy sheriff, bailiff, appointed                          Being first duly swom, I state that I am a legally competent
 court officer, or attomey for a party (MCR 2.104[A][21), and                              adultwho is not a party or an officer of a corporate party, and
 that:        (notarization not n:quired)                                                  that:    (notarization required)


❑ I served personally a copy of the summons arid complaint,
❑ 1 served by registered or certified mail (copy of retum receipt attached) a copy of the summons and complaint,
  togetherwith
                         List all documents served with the Summons and Complaint



                                                                                                                                       on the defendant(s):
Defendant's name                                          Complete address(es) of senrice                                                  Day, date, time




❑ I have personally attempted to serve the summons and complaint, togetherwith any attachments, on the follovAng defendant(s)
  and have been unable to complete service.
Defendant's name                                          Complete address(es) of service                                                  Day, date, time




I declare that the statements 3bove are trt:e to the best of my inforrnation, know;eQgr, arid betief.

                                                                                       Signature
Service fee              Miles traveled     Mileage fee      Total fee
$                    1                    $               1$                          Name (type or print)

                                                                                       TiUe
Subscribed and swom to before me on                                                                                                          County, Michigan.
                                                      Date
My commission expires:                                                   Signature:
                                   Date                                               Deputy court derklNotary public
Notary public, State of Michigan, County of
                                                             ACKNOWLEDGMENT OF SERVICE
I acknowledge that I have received service of the summons and complaint, together with
                                                                                                                       Attachments     ~
                                                                   on
                                                                         Day, date, time
                                                                              on behalf of
Signature
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                                    STATE OF MICHIGAN
                                IN THE 16'h DISTRICT COURT

LUCIAN GIZEL,
     Plaintiff,
V.                                                                                   ~°R"

EQUIFAX INFORMATION SERVICES, LLC,
a Georgia company, and
SECURITY FEDERAL CREDIT UNION,
a Michigan company,
       Defendants.
                                              ~
GARY D. NITZKIN (P41155)
TRAVIS SHACKELFORD (P68710)
CREDIT REPAIR LAWYERS OF AMERICA
Attomeys for Plaintiff
22142 West Nine Mile Road
Southfield, MI 48033
Phone (248) 353-2882
Fax (248) 353-4840
Email — gary@crlam.com


                             COMPLAINT AND JURY DEMAND

        NOW COMES THE PLAINTIFF, LUCIAN GIZEL, THROUGH COUNSEL,

CREDIT REPAIR LAWYERS OF AMERICA, BY GARY D. NITZKIN, and for his

Complaint against the Defendants, plead as follows:

                                             VENLT~

     1. The transactions and occurrences which give rise to this action occurred in Livonia,

        Wayne County, Michigan.

     2. Venue is proper in 16'h District Court in Wayne County, Michigan as the actions and

        occurrences recited herein occurred in the city of Livonia, in Wayne County, Michigan.

     3. The amount in controversy is less than twenty five thousand dollars ($25,000.00)

        exclusive of costs, interest and attorney's fees.
                                                  1
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                                       PARTIES
4. The Defendants to this lawsuit are:

       a. Equifax Information Services, LLC ("Equifax') which is a Georgia company that

           maintains a registered agent in Ingham County, Michigan; and

       b. Security Federal Credit Union ("Security Credit Union"), which upon information

           and belief, is a Michigan company that maintains its offices in Genesee County,

           Michigan.


                                  GENERAL ALLEGATIONS

5. Security Credit Union is reporting its trade line with account number 154955* ("Errant

   Trade Line") on Plaintiff's Equifax credit report with an erroneous status of charge off

   and multiple charge off codes in the payment history after the date that the account was

   paid.

6. Several years ago, Mr. Gizel co-signed a loan for a friend but his friend became

   delinquent on the account in 2010.

7. In 2010, Mr. Gizel and Defendant Security Credit Union reached an agreement to remove

   Mr. Gizel from the account. Per the agreement with the manager of the Loss Prevention

   department, Mr. Gizel would pay the settlement amount of $1,835 and Defendant would

   not report negatively on his credit files.

8. On or about February 25, 2011, Mr. Gizel received a letter from Security Credit Union

    confirming that Mr. Gizel paid the settlement. Security Credit Union stated in the letter

    that the funds have been applied to the deficiency and Mr. Gizel is released from the

    obligation to repay any addition funds. Security Credit Union will report the satisfaction

    of his obligation in full to the national credit reporting agencies today. The letter went on
                                                2
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   to state that Mr. Gizel should retain the letter as receipt and proof of satisfaction of his

   obligation.

9. On or about May 2, 2013, Mr. Gizel received a letter from Security Credit Union stating

   that his obligation to repay Security Credit Union has been fulfilled.

10.On or about May 8, 2017, Mr. Gizel received an alert from Equifax regarding a negative

   item on his credit report.

11.On May 12, 2017, Mr. Gizel obtained his Equifax credit file and noticed Security Credit

   Union reporting the Errant Trade Line.

12.On or about May 25, 2017, Mr. Gizel submitted a letter to Equifax disputing the Errant

   Trade Line. We explained that Mr. Gizel settled the account in 2011 and per the

   agreement, the Errant Trade Line should report positively, attaching the two

   aforementioned letters from Security Credit Union to the dispute letters.

13.Upon information and belief, Equifax submitted the dispute to Security Credit Union.

14. On or about June 4, 2017, Mr. Gizel received Equifax's investigation results which

   stated the creditor is currently reporting a zero balance for this account. However,

   Secuirty Credit Union is reporting the Errant Trade Line with a Status of Charge Off and

   Charge Off codes in the paym.ent history from June 2014 to Apri12017. Security Credit

   Union should not report anything after the account was paid off in February 2011.

15.As a direct and proximate cause of the Defendants' negligent and/or willful failure to

   comply with the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq., Plaintiffhas

   suffered credit and emotional damages. Due to the Defendants' failure to correct the

    errors in his credit file, Plaintiff has been forced to refrain from applying for new credit

    or more favorable terms on existing credit lines. Plaintiff has also experienced undue
                                              3
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   stress and anxiety due to Defendants' failure to correct the errors in his credit file or

   improve his financial situation by obtaining new or more favorable credit terms as a

   result of the Defendants' violations of the FCRA.


                                         ,4711i1►`Y
     NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                   BY SECURITY CREDIT UNION

16.plaintiff realleges the above paragraphs as if recited verbatim.

17.After being informed by Equifax of Mr. Gizel's consumer dispute to the Errant Trade

   Line, Security Credit Union negligently failed to conduct a proper investigation of NIr.

   Gizel's dispute as required by 15 USC 1681 s-2(b).

18.Security Credit Union negligently failed to review all relevant information available to it

   and provided by Equifax in conducting its reinvestigation as required by 15 USC 1681 s-

   2(b). Specifically, it failed to direct Equifax to remove the negative reporting rom Mr.

   Gizel's credit file.

19.The Errant Trade Line is inaccurate and creating a misleading impression on Mr. Gizel's

   consumer credit file with Equifax to which it is reporting such trade line.

20. As a direct and proximate cause of Security Credit Union's negligent failure to perform

    its duties under the FCRA, Mr. Gizel has suffered damages, mental a.nguish, suffering,

    humiliation and embarrassment.

21. Security Credit Union is liable to Mr. Gizel by reason of its violations of the FCRA-in an

    amount to be determined by the trier fact together with reasonable attorneys' fees

    pursuant to 15 USC 1681o.                    '



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   22. Mr. Gizel has a private right of action to assert claims against Security Credit Union

        arising under 15 USC 1681 s-2(b).



        WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment against the

Defendant Security Credit Union for damages, costs, interest and attorneys' fees in the amount of

less than twenty five thousand dollars ($25,000.00) exclusive of costs, interest and attomey's

fees.

                                                  COUNT II

               WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                            BY SECURITY CREDIT UNION

    23. Plaintiff realleges the above paragraphs as if recited verbatim.

    24. After being informed by Equifax that Mr. Gizel disputed the accuracy of the information

        it was providing, Security Credit Union willfully failed to conduct a proper

        reinvestigaxion of Mr. Gizel's dispute.

    25. Security Credit Union willfully failed to review all relevant information available to it

        a.nd provided by Equifax as required by 15 USC 1681 s-2(b).

    26. As a direct and proximate cause of Security Credit Union's willful failure to perform its

        respective duties under the F"C12A, Mr. Gizel has suffered damages, mental a.nguish,

        suffering, humiliation and embarrassment.

    27. Security Credit Union is liable to Mr. Gizel for either statutory damages or actual

        damages he has sustained by reason of its violations of the FCRA in an amount to be

        determined by the trier fact, together with an award of punitive damages in the amount to
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       be determined by the trier of fact, as well as for reasonable attomeys' fees and he may

       recover therefore pursuant to 15 USC 1681n.



       WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment against

Security Credit Union for the greater of statutory or actual damages, plus punitive damages,

along with costs, interest and attorneys' fees in the amount of less than twenty five thousand

dollars ($25,000.00) exclusive of costs, interest and attorney's fees.



                                            COUNT III

         NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                             BY EQiJIFAX

    28. Plaintiff realleges the above paragraphs as if recited verbatim.

    29. Defendant Equifax prepared, compiled, issued, assembled, transferred, published and

       otherwise reproduced consumer reports regarding Mr. Gizel as that term is defined in 15

        USC 1681a.

    30. Such reports contained information about Mr. Gizel that was false, misleading and

        inaccurate.

    31. Equifax negligently failed to maintain a.nd/or follow reasonable procedures to assure

        maximum possible accuracy of the information it reported to one or more third parties

        pertaining to Mr. Gizel, in violation of 15 USC 1681e(b).

    32. After receiving Mr. Gizel's consumer dispute to the Errant Trade Line, Equifax

        negligently failed to conduct a reasonable reinvestigation as required by 15 U.S.C. 1681i.




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   33. As a direct and proximate cause of Equifax's negligent failure to perform its duties under

       the FCRA, Mr. Gizel has suffered actual damages, mental anguish and suffering,

       humiliation and embarrassment.

   34. Equifax is liable to Mr. Gizel by reason of its violation of the FCRA in an amount to be

       determined by the trier fact together with his reasonable attorneys' fees pursuant to 15

       USC 1681o.



       WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment against

Equifax for actual damages, costs, interest and attorneys' fees in the amount of less than twenty

five thousand dollars ($25,000.00) exclusive of costs, interest and attorney's fees.

                                            COUNT IV

               WILLFIJL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                                 BY EQUIFAX

    35. Plaintiff realleges the above paragraphs as if recited verbatim.

    36. Defendant Equifax prepared, compiled, issued, assembled, transferred, published and

       otherwise reproduced consumer reports regarding Mr. Gizel as that term is defined in 15

       USC 1681a.

    37. Such reports contained inforrriation about Mr. Gizel that was false, misleading and

        inaccurate.

    38. Equifax willfully failed to maintain and/or follow reasonable procedures to assure

        maximum possible accuracy of the information that it reported to one or more third

        parties pertaining to Mr. Gizel, in violation of 15 USC 1681 e(b).




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   39. .After receiving Mr. Gizel's consumer dispute to the Errant Trade Lines, Equifax

       willfully failed to conduct a reasonable reinvestigation as required by 15 U.S.C. 1681i.

   40. As a direct and proximate cause of Equifax's willful failure to perform its duties under

       the FCRA, Mr. Gizel has suffered actual damages, mental anguish and suffering,

       humiliation and embarrassment.

   41. Equifax is liable to Mr. Gizel by reason of its violations of the FCRA in an amount to be

       determined by the trier of fact together Nvith his reasonable attorneys' fees pursuant to 15

       USC 1681n.



       WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment against

Defendant Equifax for the greater of statutory or actual damages, plus punitive damages along

with costs, interest and reasonable attorneys' fees in the amount of less than twenty five thousand

dollars ($25,000.00) exclusive of costs, interest and attomey's fees.




                                        JURY DEMAND

       Plaintiff hereby demands a tria? by Jury.




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                                      Respectfully submitted,


         July 5, 2017                                                '               _
                                       ARYrNITZKIN 41155)
                                      TRAVHACKE ORD (P6 710)
9,                                    CREDIT REPAIR LAWYERS OF AMERICA
~                                     Attorneys for Plaintiff
                                      22142 West Nine 1Vlile Road
     j                                Southfield, MI 48033
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 NITZKIN & ASSOCIATES
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S6UTHFIELD, MICHIGAN 48033
                             '      7012 1640 aoao 0674 1450



                                                Equifax Information Services, LLC
                                                RA: CSC Lawyers Incorporating
                                                Service Company
                                                601 Abbott Rd.
                                                East Lansing, MI 48823




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